 Case 1:20-cr-20009-BB Document 6 Entered on FLSD Docket 01/21/2020 Page 1 of 2
                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                           CASE NO. 20-CR-20009-BB



UNITED STATES OF AMERICA

vs.

LEMON CLARENCE BENTON,

                    Defendant.
_________________________________ /


                                   NOTICE OF APPEARANCE

        COMES NOW, The United States of America, by and through the undersigned Assistant

 United States Attorney, noticing this Honorable Court that the undersigned Assistant U.S. Attorney has

 been assigned to the above captioned case.




                                                       Respectfully submitted,


                                                      ARIANA FAJARDO ORSHAN
                                                      UNITED STATES ATTORNEY

                                               By:    s/Kevin Gerarde
                                                      Kevin Gerarde
                                                      Special Assistant United States Attorney
                                                      Bar No. 113844
                                                      United States Attorney’s Office - SDFL
                                                      99 Northeast Fourth Street, 6th Floor
                                                      Miami, Florida 33132-2111
                                                      Telephone: (305) 961-9086
                                                      Facsimile: (305) 536-4699
                                                      E-mail: Kevin.Gerarde@usdoj.gov
Case 1:20-cr-20009-BB Document 6 Entered on FLSD Docket 01/21/2020 Page 2 of 2




                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on January 21, 2020, the undersigned electronically filed the

foregoing document, United States’ Notice of Appearance, with the Clerk of the Court using CM/ECF.



                                                     /s/Kevin Gerarde
                                                     Kevin Gerarde
                                                     Special Assistant United States Attorney




                                               -2-
